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 Alfredo R. Pérez

 Attorneys for Debtors
 and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                    :
 In re                                                              :   Chapter 11 Case No.
                                                                    :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                               08-13555 (JMP)
                                                                    :
                                     Debtors.                       :   (Jointly Administered)
                                                                    :
 -------------------------------------------------------------------x

                  DECLARATION OF ALFREDO R. PÉREZ IN SUPPORT
             OF ORDER TO SHOW CAUSE TO CONSIDER DEBTORS’ MOTION
              PURSUANT TO SECTIONS 105 AND 363 OF THE BANKRUPTCY
             CODE AND FEDERAL RULES OF BANKRUPTCY PROCEDURE 6004
               AND 9019 FOR APPROVAL OF THAT CERTAIN SETTLEMENT
               AMONG THE LEHMAN PARTIES AND THE SUNCAL PARTIES

           I, Alfredo R. Pérez, being fully sworn, hereby declare that the following is true to the best

 of my knowledge, information, and belief:

                     1.         I am an attorney admitted to practice before this Court and a partner of

 Weil, Gotshal & Manges LLP, attorneys for Lehman Brothers Holdings Inc. (“LBHI”), Lehman

 Commercial Paper Inc. (“LCPI”) and their affiliated debtors in the above-referenced chapter 11

 cases, as debtors in possession (together, the “Debtors”). Unless otherwise indicated, I have

 knowledge of the facts set forth herein from various employees of the Debtors and from the

 Debtors’ professionals.




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                     2.         I submit this declaration in support of the Order to Show Cause (the

 “Order to Show Cause”) in connection with the Debtors’ motion, dated October 24, 2011 (the

 “Motion”), for approval of a settlement among (a) Lehman ALI, Inc., LCPI, OVC Holdings

 LLC, Northlake Holdings LLC and LBHI (collectively, the “Lehman Parties”), and (b) SCC

 Acquisitions, Inc., SCC Acquisitions, LLC, SunCal Management, LLC (“SunCal Management”),

 Bruce Elieff and other principals and affiliates of any of them to be specifically designated by the

 Lehman Parties (collectively, the “SunCal Parties”), as more fully described in the Motion.

                     3.         Pursuant to the procedures set forth in the amended order entered on June

 17, 2010 governing case management and administrative procedures [ECF No. 9635], the

 Motion requires at least 21 days’ notice, plus one additional day’s notice for service by overnight

 delivery. The Debtors are requesting an order to shorten the notice period ordinarily required

 and setting the date of October 27, 2011, for the hearing on the Motion.

                          The Need for Shortened Notice with Respect to the Motion

                     4.         Pursuant to the Motion the Debtors seek approval of a settlement

 transaction between the Lehman Parties and the SunCal Parties (the “SunCal Settlement

 Transaction”). The Lehman Parties have negotiated a term sheet (the “SunCal Term Sheet”),

 dated October 22, 2011, that sets forth the material terms, provisions and conditions of, and the

 obligations of the parties to the SunCal Settlement Transaction.

                     5.         The SunCal Settlement Transaction will result in resolving several years

 of litigation reflected in numerous pending actions instituted by one or more of the SunCal

 Parties and/or various affiliates thereof. The SunCal Term Sheet contemplates that the parties

 will enter into a binding settlement agreement memorializing the terms, conditions and

 provisions of the SunCal Term Sheet (the “SunCal Settlement Agreement”). Pursuant to the




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 SunCal Term Sheet, the SunCal Parties have agreed to perform the following actions

 immediately upon execution of the SunCal Term Sheet (collectively, the “SunCal Immediate

 Actions”):1

                                        immediately withdraw each of the SunCal Plans;

                                        immediately withdraw all objections to the Lehman-SunCal Plans;2

                                        file a plan support statement in favor of the Lehman-SunCal Plans;

                                        file a motion seeking to change any of the SunCal Parties’ votes on
                                         the Lehman-SunCal Plans to “yes” votes; and

                                        withdraw any objections filed by any of the SunCal Parties or
                                         SunCal Voluntary Debtors to 3018 motions or stipulations or to the
                                         “yes” votes of any person or entity in favor of the Lehman-SunCal
                                         Plans.

 The hearing to consider confirmation of the SunCal Plans and the Lehman-SunCal Plans is

 scheduled to begin on Monday, October 24, 2011. In exchange for the SunCal Parties

 undertaking the SunCal Immediate Actions upon execution of the SunCal Term Sheet, the

 Lehman Parties have agreed to do the following:

                                        subject to certain limitations, the Lehman Parties will reclassify the
                                         claims of SunCal Management under the Lehman-SunCal Plans as
                                         “Reliance Claims,” which receive the maximum recoveries
                                         available to unsecured creditors under the Lehman-SunCal Plans if
                                         a release is provided in favor of the “Lehman Released Parties” (as
                                         defined in the Lehman-SunCal Plans); and



 1
  The brief descriptions of the SunCal Term Sheet contained herein are included for convenience only. Nothing
 herein is intended to supersede the terms of the SunCal Term Sheet or the effectuated SunCal Settlement
 Agreement. In the event of any inconsistencies between the SunCal Term Sheet and the descriptions herein, the
 SunCal Term Sheet shall control.
 2
   Defined as the Third Amended Joint Chapter 11 Plan for Eleven Voluntary Debtors Proposed by Lehman VD
 Lenders, dated July 15, 2011 [ECF No. 2598] (as amended, the “Joint VD Plan”) and the Third Amended Joint
 Chapter 11 Plan for Eight Trustee Debtors Proposed by the Trustee and Subject Lehman Creditors, dated July 15,
 2011 [ECF No. 2595] (as amended, the “Joint TD Plan” and together with the Joint VD Plan, the “Lehman-SunCal
 Plans”)



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                                        to seek expedited approval of the SunCal Settlement Transaction,
                                         as reflected in the SunCal Term Sheet and to be memorialized in
                                         the SunCal Settlement Agreement, that, on information and belief,
                                         was of paramount importance to the SunCal Parties.

                     6.         Thus, expedited approval is necessary because the Lehman Parties

 undertook to seek such approval in exchange for the material benefits that the Lehman Parties

 will derive from the SunCal Immediate Actions even if the rest of the SunCal Settlement

 Transaction is never consummated. The SunCal Immediate Actions remove substantial

 impediments to the confirmation of the Lehman-SunCal Plans, shorten the time and expense

 inherent in the confirmation hearing with respect thereto and, with such a significant condition to

 the ability of the parties to consummate the full settlement out of the way, the parties are more

 likely to reach agreement on a final SunCal Settlement Agreement.

                     7.         Cause exists to shorten the notice period ordinarily required for the

 Motion. The parties to the SunCal Term Sheet agreed that they would proceed in good faith and

 as expeditiously as possible to negotiate, finalize, execute and deliver the SunCal Settlement

 Agreement. The Debtors respectfully submit that expedited consideration of the Motion is

 warranted for the following reasons:

                                        The Lehman Parties committed to seek expedited approval as quid
                                         pro quo for the material benefits obtained from the SunCal Parties
                                         undertaking the SunCal Immediate Actions which then cleared the
                                         path toward a speedier, less costly and less uncertain confirmation
                                         process with respect to the Lehman-SunCal Plans.

                                        The expedited approval of the SunCal Settlement Transaction by
                                         this Court will make it more likely that the parties will sooner
                                         reach agreement on a final SunCal Settlement Agreement and
                                         reduce the chances that they will be at an impasse as of November
                                         30, 2011 at which time, if a SunCal Settlement Agreement has not
                                         been entered into, the parties are required to submit any disputes
                                         with respect to a final SunCal Settlement Agreement to Judge
                                         Daniel Weinstein for resolution.




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                                        Prior to entering into a SunCal Settlement Agreement, the SunCal
                                         Parties are not precluded from continuing to prosecute the pending
                                         litigation which, if pursued by the SunCal Parties, would cause the
                                         Lehman Parties to continue to dedicate substantial resources and
                                         funds attendant in engaging in complex and protracted litigation.

                     8.         Entering into the SunCal Settlement Agreement will result in significant

 cost savings and resolve what has been several years of litigation and failed attempts at

 mediation. The Debtors have requested the expedited relief stated herein to ensure that the

 obligations and benefits derived from consummating the SunCal Settlement Transaction as

 described in the SunCal Term Sheet will be achieved. Accordingly, the Debtors believe it is in

 the best interests of their estates to enter into the SunCal Settlement Transaction pursuant to the

 terms, provisions and conditions set forth in the SunCal Term Sheet by memorializing the same

 in the SunCal Settlement Agreement and have the Court consider the Motion by no later than

 October 27, 2011. Accordingly, the Debtors request that the Court enter the Order to Show

 Cause to proceed to shorten the notice period for the motion, so the Motion can be considered on

 October 27, 2011 at 10:00 a.m. (Prevailing Eastern Time), with objections and responses, if any,

 to be received by October 27, 2011 at 9:00 a.m. (Prevailing Eastern Time).

 Dated: October 24, 2011
        New York, New York
                                                        /s/ Alfredo R. Pérez
                                                        Alfredo R. Pérez, Esq.

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